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                                         UNITED STATES DISTRICT COURT

                                        NORTHERN DISTRICT OF CALIFORNIA


           DAVID A. STEBBINS,                            Case No.21-cv-04184-JSW
                           Plaintiff,
                                                         CLERK’S NOTICE VACATING
                      v.                                 MOTION HEARING
           KARL POLANO, et al.,                          Re: Dkt. No. 159
                           Defendants.

                YOU ARE HEREBY NOTIFIED that the hearing on the Motion for Leave to File
        Motion for Reconsideration and to Recuse, set for August 19, 2022 at 09:00 AM before Judge
        Jeffrey S. White, is VACATED and a written order will issue in due course.
        Dated: August 15, 2022
                                                       Mark B. Busby
                                                       Clerk, United States District Court



                                                       By: ________________________
                                                       Diyana Staples, Deputy Clerk to the
                                                       Honorable JEFFREY S. WHITE
                                                       510-637-3541




Clerk’s-Notice_CRD
rev. June 2018
